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                                   #: 444




                       EXHIBIT B
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                                             #: 445



                         IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

        APPLICANT:          LEONE. HAUCK, ET AL.                )            Art Unit 2136
                                                                )
        SERIAL NO.:         10/139,924                          )            Confirmation No. 4950
                                                                )
        FILED:             May 6, 2002                          )            Examiner: Yalew, Fikremariam A.
                                                                )
    5 FOR: "METHOD FOR RESTRICTING                              )            Attny. Dkt. No. 6339-A-1
            ACCESS TO A WEB SITE BY                             )
    6   _______________
            REMOTE USERS"                                       )
                                                                )
    7
    8

    9                             Certificate of Transmission Under 37 CFR 1.8
                                                                                                                  :if.;.

   10                      I hereby certify that this correspondence is being deposited on February 2, 2006,         t~· •
                           by first class mail, in the United States Postal Service addressed to: Commissioner   '~)
   11                      of Paten s, P.O. Box 4 , lexandria, VA 22313-1450.                                     ·:'.•?;_.

   12
                                                                                       '   Date
   13

   14
                                                     AMENDMENT
   15
   16   Hon. Commissioner for Patents
        P.O. Box 1450
   17
        Alexandria, VA 22313-1450
   18

   19   Sir:                                                                                                       .)


   20           In response to the Office Action mailed September 2, 2005, please amend the ab~te-

   21   identified patent application as follows:

   22           Amendments to the Claims are reflected in the listing of claims which begins on page 2

   23   of this paper.

   24           Remarks/Arguments begin on page 6 of this paper.

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    1 Listing of Claims:



    3           1.      (Currently amended) A method ofrestricting access to data maintained on a

    4   server computer by an authorized client machine, said method comprising the steps of:

    5           a.      installing a client-side software program on the client machine for generating a

    6   client machine-specific identifier, the client machine-specific identifier being unique to the

    7 particular machine upon which such client-side software program is initially installed;              .
                                                                                                    ....,. -~ ,,.

    8           b.      operating the client-side software program on the client machine to generat{the

    9   client machine-specific identifier;

                C.      generating a unique password remote from the client machine, and providing the

   11   unique password to a user of the client machine, the unique password being derived from tpe

   12   client machine-specific identifier generated in step b., and uniquely corresponding thereto; •

   13           d.      issuing a request by the client machine to the server computer for access to data

   14 maintained on the server computer;

   15           e.      responding to the request for access of step d. by having the client machine re-

   16   generate its machine-specific identifier;

   17           f.      verifying on the client machine whether the client machine-specific identi~;r,Te-
                                                                                                    ~    .:, .-.:,.

   18   generated in step e. uniquely corresponds with the unique password generated in step c.; ai{4

   19           g.      recognizing the client machine as being authorized to access data maintained on

   20   the server computer if the verification performed by step f. is true, and refusing to recognize the

   21   client machine as being authorized to access data maintained on the server computer if the /·

   22   verification performed by step f. is false.

   23

   24           2.      Canceled.

   25

   26           3.      Canceled.

   27

   28           4.      Canceled.

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    1             5.     (Original) The method recited by claim 1 including the step of installing a

    2   server-side software program on a server computer, remote from the client machine, for

    3   generating the unique password generated in step c. of claim 1.



    5             6.     (Original) The method recited by claim 5 wherein the server-side software\.
                                                                                                      f,)::;·
    6 program is installed on the server computer that maintains the data which the client machi~~
                                                                                                 ·/··.
                                                                                                       is

    7   trying to access.

    8

    9             7. (Currently amended) The method recited by claim 1 wherein the step of generating a

   10   unique password remote from the client machine is performed by a computer other than the

   11   client machine server computer that maintains the data which the client machine is trying to

   12   access.

   13                                                                                                  :"t;


   14             8.     (Original) The method recited by claim 1 wherein the step of installing th~:t
                                                                                                     t>-~-~- -
   15   client-side software program on the client machine includes the step of downloading the d_fignt-
                                                                                                 :'.~f
   16   side software program from the server computer.

   17

   18             9.     (Original) The method recited by claim 1 wherein the step of generating a '.,':

   19   unique password remote from the client machine includes the step of transmitting the client

   20   machine-specific identifier generated in step b. to a password-generating computer other than

   21   the client machine, and generating the unique password at the password-generating computer.

   22

   23             10. (Original) The method recited by claim 9 wherein the password-generating ii.:.
                                                                                                     :;.{.      I




   24   computer is the server computer that maintains the data which the client machine is tryingi-tp\
                                                                                                   (_t(
   25   access.                                                                                        _,\::.




   26

   27             11.    (Original) The method recited by claim 9 wherein the password-generating.·
                                                                                                       ,·:.
   28   computer operates a software program to perform an algorithm for generating the unique


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    1 password based upon the client machine-specific identifier generated in step a.

    2
                                                                                                           f)> .•
    3             12.      (Original) The method recited by claim 1 further including the steps of:        hT}
                                                                                                           IJ.)y:
    4             h.       obtaining a session identifier and a site identifier from the client machine ea~h

    5   time the client machine requests access to restricted data area of the server computer, the session

    6   identifier indicating a particular working session by the client machine, and the site identifi_er
                                                                                                             .    !~,.




    7   indicating a particular data area of the server computer which the client machine is authorized to

    8   access;

    9             i.       storing the session identifier and site identifier in a temporary storage table

   10   remote from the client machine upon a first request by the client machine for access to a

   11   restricted data area of the server computer;

   12             J.    comparing the session identifier obtained from the client machine upon subs~quent
                                                                                                            \:;,\;.

   13   requests for access to the restricted data area of the server following the first request; and ··\\

   14             k.       allowing the client machine continued access to the restricted data area·of the

   15   server computer if the session identifier obtained from the client machine upon a subsequent

   16   request corresponds to a session identifier already stored in the temporary storage table.

   17

   18             13.      (Original) The method recited by claim 1 wherein each client machine is only

   19   authorized to access particular data areas of the server computer, and wherein the client-side

   20   software program installed on the client machine determines which areas of the server computer

   21   can be accessed by a particular client machine.

   22

   23             14.      (Currently amended) A method ofrestricting access to data maintained on a'

   24   server computer by an authorized client machine, said method comprising the steps of:

   25             a.    creating a session identifier in a computer remote from the client machine for a\:

   26   current browsing session of the client machine;

   27             b.    transmitting to the client machine the session identifier created in step a);

   28             c.    storing the session identifier transmitted in step b) within the client machine;


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                                                                                                      t~;.: ~'
    1           d.      verifying, on the client machine, that the client machine is authorized to ac~~ss
                                                                                                        ~   ~:
    2   data maintained on the server computer;

    3           e.     obtaining the session identifier stored in step c), and storing such session

    4                  identifier

    5   within a storage table remote from the client machine if such client machine was verified in step

    6   d);

    7           f.     transmitting a request by the client machine for access to data maintained on the

    8   server computer, such request including the session identifier stored in step c);

    9           g.     comparing the session identifier transmitted in step f) with the session identif'.ier
                                                                                                      .-}/:·
   10   stored in the storage table during step e) to determine whether the request for access transll?-~tted

   11   in step f) is authorized; and

   12          h.      permitting access by the client machine to the requested data maintained on the

   13   server computer if the comparison made in step g) shows that the request for access is
   14   authorized, and denying access by the client machine to the requested data maintained on the

   15   server computer if the comparison made in step g) shows that the request for access is not

   16   authorized.

   17

   18           15.    (Original) The method recited by claim 14 wherein the session identifier stored
                                                                                                      ·/U)
   19   on the client machine in step c) is stored as a temporary file on the client machine.

   20

   21           16.    (Original) The method recited by claim 15 wherein the temporary file which

   22   stores the session identifier on the client machine is a "cookie".

   23

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    1                                              REMARKS

    2           This Amendment is responsive to the non-final Office Action mailed September 2, 2005

    3   for the above-identified patent application. The pending claims following amendment are

    4   claims 1 and 5-16.

    5           This Amendment is accompanied by a Petition for Two Month Extension of Time, :md

    6 by payment of the corresponding two-month extension fee for an applicant having small ~tj.ti,ty

    7 status.
                                                                                              \~1.
    8           Within the Office Action, the Examiner rejected independent claim land dependent:

    9   claims 2-11 and 13, dependent directly or indirectly from claim 1, under 35 U.S.C. §102(e) as

   10 claiming subject matter considered by the Examiner to be anticipated by the disclosure within
   11   U.S. Patent No. 6,571,339 (Danneels). In view of the amendments made to claim 1 above, such

   12   rejection no longer applies, for the reasons explained below.

   13           The cited patent to Danneels (assigned to Intel Corporation) relates to computers using

   14   Intel-brand central processors (or "CPUs") that have embedded therein a unique processor
   15   identification number. A user computer (402) desiring to access an application or data on:a

   16   remote server computer (522) first provides its unique processor ID. As shown in Fig. 3 q_f.;.:

   17 Danneels, the derivation of this unique processor ID may result from passage of a softwari~
                                                                                               · -.    \



   18   module (agent 308/516) from the server to the user's computer; agent 308/516 obtains the

   19   unique processor ID and sends it back to a session manager (304/506) in the server comput~r.

   20   As shown in Fig. 5 of Danneels, the server might first send registration pages (510) to the user

   21   computer, which the user completes and sends back (512) to the server. Using the registration

   22   information (512), the server downloads to the user computer a digital wallet (514); digital

   23   wallet 514 may include the aforementioned software module (agent 308/516) that operates on
   24   the user's computer to derive the unique processor ID (518). Session manager 506 receive!

   25   unique processor ID (518) and then downloads a digital membership card (520) to the uset\
                                                                                                    \r_t ·~:/
   26   computer; digital membership card 520 is based upon the unique processor ID (518) and a))
                                                                                               :·~ ::
   27   unique membership number assigned to such unique processor ID.

   28           Danneels describes the process of validating a request to access a web site at col. 7, line



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                                                                                                      };:)_,
    1 36 to col. 8, line 4. Danneels explains that a user seeking to access a web site provides thb\{
                                                                                                      .--.~•.:.;!~


    2   user's digital membership card (520). The web site (804), which is maintained on a com~tt\er
                                                                                                          ~~~
    3   remote from user computer 402, then performs a "validation process" wherein web site 804

    4   retrieves the unique processor ID from the user's computer, and compares it to the unique

    5 processor ID contained in the digital membership card (520). In other words, the validation

    6   process is performed on the server computer. While Danneels downloads a software module to

    7 the user computer 402, the downloaded software module merely serves to detect and transmit

    8 the unique processor ID embedded in the CPU of the user's computer.

    9           In contrast, claim 1 as amended recites a method of restricting access to data maintain6d
                                                                                                      ~'~~·'


   10   on a server computer by an authorized client machine wherein the verification step is per(otfu,ed
                                                                                                    .f·:-.-~
   11   on the client machine, rather than on the server. The method of claim 1 includes the step ~(;'
                                                                                                   ?/r·
   12   installing a client-side software program on the client machine for generating a client machlne-

   13   specific identifier unique to the particular machine upon which such client-side software
   14 program is initially installed; the client-side software program is operated on the client macp.ine
                                                                                                          \?
   15   to generate such client machine-specific identifier. While such specific identifier could be       a
   16   unique CPU processor ID, as in Danneels, it need not be so limited. Indeed, basing the client

   17   machine-specific identifier upon factors other than just the CPU ID number can safeguard

   18   against a scenario wherein a given CPU is shuffled between two or more computer mainboards.
                                                                                                      ·:-i·
                                                                                                      ~.i,:.:,

   19   The method of claim 1 further includes the step of generating a unique password remote fi:qgi
                                                                                                    :{:•~}~··h

   20   the client machine, derived from the client machine-specific identifier, and providing the ~que
   21   password to the client machine.                                                               ::!~[::
   22          As further recited in method claim 1, a client machines issues a request to a server

   23   computer for access to data maintained on the server computer; such request triggers the clifnt
                                                                                                          ",
                                                                                                      ,   :~
   24   machine to re-generate its machine-specific identifier. A verification step is then performed· on
   25   the client machine to confirm that the re-generated client machine-specific identifier uniquely
   26   corresponds with the unique password previously provided to the user. As explained in

   27   Applicants' specification, this verification process is performed, in the preferred embodiment,

   28   by a client machine key DLL. If such verification is successful, the client machine is then'.{.
                                                                                                      ~?~1·:
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                                                                                                      if
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    1 recognized as being authorized to access data maintained on the server computer.

    2           One might regard Applicants' claimed machine specific identifier as being equivale,nt to
                                                                                                           •/:.
    3 Danneels' unique processor ID number, and one might further regard Applicants' claimed 1:
    4   unique password as being akin to Danneels' digital membership card. However, Danneels
    5 clearly requires that the verification step be performed on the server computer by the session

    6 manager (304/506/606); in contrast, claim 1 requires that such verification step be performed on

    7 the user's computer. It is respectfully submitted that it would not have been obvious to th~.$~
                                                                                                  {)~~\
    8 skilled in the art to perform such verification in the generally less-secure environment oft,µf:
                                                                                                        .--;~- .':


    9 user's computer as compared with the more-secure environment of the server computer. }/

   10           For the reasons set forth above, claim 1, and claims 5-13 dependent therefrom, as

   11   amended, define subject matter that is not anticipated by Danneels, and not obvious in view of

   12   the cited art ofrecord. Applicants further note that dependent claim 13 adds the limitation'.{hat
   13   the client-side software program installed on the client machine determines which areas of the

   14   server computer can be accessed by a particular client machine. Applicants' specification, at
   15   page 14, lines 6-18, explains that a Java applet installed on the client machine can derive, from

   16   the password information, the level of access to which a particular client machine is entitleq,
                                                                                                        ·,~\t;
   17   and that such authorized access level information is transmitted to the remote server. Thi~-~-l.l.~
   18   feature recited by claim 13 is neither disclosed nor suggested by the cited art.

   19          Within the Office Action, the Examiner rejected independent method claim 14, and:

   20   claims 15 and 16 dependent therefrom, under 35 U.S.C. §102(b) as describing subject matter
                                                                                                           .,
   21   considered by the Examiner to be anticipated by U.S. Patent No. 6.092,196 to Reiche. Claif 14

   22   recites a method of restricting access to data maintained on a server computer by an authorized
   23   client machine. In practicing such method, a session identifier is created in a computer remote

   24   from the client machine for a current browsing session of the client machine. This session
   25   identifier is transmitted to the client machine and stored therein. A verification step is
                                                                                                 ;if
   26   performed to determine whether a client machine is authorized to access data maintained lJithe
   27   server computer. As amended, claim 14 recites that this verification step is performed       01/lk~
                                                                                                        .
                                                                                                       · ·,'
                                                                                                        :~'.1)·f
   28   client machine. As already noted, Applicants' specification explains that, in the preferred.<'{

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     1 embodiment, the client side software on the client machine performs such verification step by
     2   re-generating the machine-specific identifier and comparing it to the unique password saved by

     3 the user in the client machine. Assuming that such verification is successful, then the client

     4   machine sends the aforementioned session identifier to a remote storage table for use in ":;·~
                                                                                                         {~.·:~ ..

     5 processing subsequent access requests. Subsequent access requests by a client machine iri,611ide
                                                                                               : '='··.,,: ·'        ~

                                                                                                         ·p•/
     6   the session identifier, which is then compared to the session identifier stored in the remoteft
          .                                                                                               .·~t·
     7   storage table.

     8           Applicants agree that the cited patent to Reiche discloses the concept of generating a

     9   session identifier in a server computer and transmitting such session identifier to the user . ,i

    10 computer. However, in Reiche, verification of each user is performed by an "authentication

    11   server" having a database holding user IDs and passwords of authorized users; see col. 5, lines

    12   32-42, and col. 9, lines 15-56. This authentication server is remote from the user's machine.

    13   There is no teaching in Reiche, or in any of the other cited art, which would suggest that thi~
                                                                                                          ,,.:,;


    14   verification/authentication procedure be performed by the client machine, as now recited ~y.-:,
                                                                                                       • {~~.- < :       ~·-;

                                                                                                        <.,.

    15   claim 14, as opposed to being performed by a remote server.                                     ·t: _'.~.:~

    16           For the reasons set forth above, pending claims 1 and 5-16 define subject matter thit is

    17   neither anticipated by, nor suggested in view of, the cited art ofrecord. Accordingly, Applicants

    18   requests that the Examiner issue an early Notice of Allowance.

    19                                                  Respectfully submitted,

    20                                                  CAHILL, VONHELLENS & GLAZERP.L.C.

    21
    22
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